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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 24-20110-CR-GAYLES/GOODMAN(s)
                                  18 u.s.c. § 1958
                                  18 U.S.C. § 2261A(2)(A)
                                                                        MP
                                  18 U.S.C. § 1952(a)(2)
                                  18 u.s.e § 1952(a)(3)         Jul 31, 2024
                                  18 u.s.c. § 844(i)
                                  18 U.S.C. § 844(h)
                                  18 u.s.c. § 1503                         Miami
                                  18 U.S.C. § 981(a)(l)(C)


   UNITED STATES OF AMERICA

   vs.

   BAYRON BENNETT,
   FAUSTO VILLAR,
        a/k/a "Cuba,"
   AVERY BIVINS,
   CLEMENTA JOHNSON,
   VERNON GREEN,
   DIORI BARNARD,
   JERREN KEITH HOWARD,
        a/k/a "Blood,"
        a/k/a "Omerta Bloody,"
   MICHAEL JOSE DULFO,
        a/k/a "Mike Dulfo,"
        a/k/a "Mike D,"
   EDNER ETIENNE,

                Defendants.
   - - - - - - - - - - - - - -I
                                SUPERSEDING INDICTMENT

         The Grand Jury charges that:
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                                            COUNTl
                                    Murder for Hire Conspiracy
                                        18 u.s.c. § 1958

          From in or around June 2022, the exact date being unknown to the Grand Jury, continuing

   through on or about July 16, 2024, in Miami-Dade County, in the Southern District of Florida, and

   elsewhere, the defendants,

                                      BAYRONBENNETT,
                                       FAUSTO VILLAR,
                                        AVERYBMNS,
                                       DIORI BARNARD,
                                    CLEMENTA JOHNSON, and
                                       VERNON GREEN,

   did knowingly and intentionally combine, conspire, confederate, and agree with each other and

   persons known and unknown to the Grand Jury, to use, and cause another to use, any facility of

   interstate and foreign commerce, with intent that the murder of Victim 1 be committed in violation

   of the laws of the State of Florida as consideration for the receipt of, and as consideration for a

   promise and agreement to pay, anything of pecuniary value, in violation of Title 18, United States

   Code, Section 1958(a).

                                PURPOSE OF THE CONSPIRACY

          The purpose of the conspiracy was to intimidate, threaten and ultimately kill Victim 1.

   Unindicted Co-conspirator 1, BAYRON BENNETT, FAUSTO VILLAR, AVERY BIVINS,

   DIORI BARNARD, CLEMENTA JOHNSON, VERNON GREEN, and their co-conspirators

   formed the conspiracy to kill Unindicted Co-conspirator l's estranged wife, Victim 1.




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                          MANNER AND MEANS OF THE CONSPIRACY

           The manner and means by which the defendants and their co-conspirators sought to

   accomplish the purpose and object of the conspiracy included, among other things, the following:

           1.      BAYRON BENNETT, FAUSTO VILLAR, AVERY BIVINS, DIORI

   BARNARD, CLEMENTA JOHNSON, VERNON GREEN, Unindicted Co-conspirator 1, and

   others known and unknown to the Grand Jury used facilities and channels of interstate commerce,

   that is, cellular phones, electronic devices, internet search engines, websites, mobile payment

   service applications, motor vehicles, the internet and cellular telephone networks, to coordinate

   efforts to kill Victim 1.

           2.      BAYRON BENNETT, FAUSTO VILLAR, AVERY BIVINS, DIORI

   BARNARD, CLEMENTA JOHNSON, VERNON GREEN, Unindicted Co-conspirator 1, and

   others known and unknown to the Grand Jury stalked, intimidated, and physically attacked Victim

   1 to prevent Victim 1 from attending divorce proceedings before the State of Florida's Eleventh

   Judicial Circuit.

           3.      From in or around June 2022 through on or about July 16, 2024, Unindicted Co-

   conspirator 1 directed at least two distinct crews to stalk, intimidate and ultimately to kill Victim

   1. The first crew, coordinated by BAYRON BENNETT, made numerous attempts to intimidate

   and kill Victim 1 through acts such as arsons, a staged home invasion robbery and poisoning with

   cyanide, arsenic, and fentanyl. Co-conspirator 1 directed BAYRON BENNETT and his crew in

   this scheme and insisted that BENNETT deal exclusively with Co-conspirator 1 to conceal his

   involvement in this murder for hire scheme.

           4.      More specifically, as part of this scheme, BAYRON BENNETT used his crew,

   consisting of JERREN KEITH HOWARD, MICHAEL JOSE DULFO, and EDNER


                                                    3
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   ETIENNE, to harass, threaten and attempt to kill Victim 1 through acts of arson and by ramming

   a truck into Victim l's car. Unindicted Co-conspirator 1 also directed BENNETT's crew to

   commit an arson of his own vehicle on September 7, 2023, thereby generating a false police report,

   and further solicited individuals to shoot a firearm at his property -- all in an effort to conceal his

   involvement in the murder for hire scheme.

          5.      From at least in or around October 2023 through on or about July 16, 2024,

   Unindicted Co-conspirator 1 directed a second crew, coordinated by FAUSTO VILLAR, to stalk,

   threaten, intimidate and kill Victim 1.       The second crew consisted of AVERY BIVINS,

   CLEMENTA JOHNSON, DIORI BARNARD, and VERNON GREEN. The second crew

   sought to stalk and intimate Victim 1 by tracking her movements in Miami Dade and Momoe

   Counties, entering her property masked and without consent, and menacing others on her property

   by pointing a gun at their head. Co-conspirator 1 provided the second crew with a financial

   incentive to ensure the crime was not traced back to him. Co-conspirator 1 suggested that the

   second crew should kill Victim 1 by injecting her with a provided liquid substance to make her

   death appear to be a heart attack. Once again, Co-conspirator 1 insisted on dealing exclusively

   with VILLAR to conceal his involvement in this murder for hire scheme.

          All in violation of Title 18, Untied States Code, Section 1958(a).

                                                COUNT2
                                             Murder for Hire
                                             18 u.s.c. § 1958

          From in or around June 2022, the exact date being unknown to the Grand Jury, continuing

   through on or about March 7, 2024, in Miami-Dade County, in the Southern District of Florida,

   and elsewhere, the defendant,

                                         BAYRON BENNETT,

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   did use, and cause another to use, any facility of interstate and foreign commerce, with intent that

   the murder of Victim 1 be committed in violation of the laws of the State of Florida as

   consideration for the receipt of, and as consideration for a promise and agreement to pay, anything

   of pecuniary value, in violation of Title 18, United States Code, Sections 1958(a) and 2.

                                                  COUNT3
                                                  Stalking
                                              18 U.S.C. § 2261A

           Beginning from in or around June 2022, the exact date being unknown to the Grand Jury,

   and continuing through on or about March 7, 2024, in Miami-Dade County, in the Southern

   District of Florida and elsewhere, the defendants,

                                        BAYRON BENNETT,
                                      MICHAEL JOSE DULFO,
                                    JERREN KEITH HOWARD, and
                                         EDNE:R ETIENNE,

   did, with the intent to kill, injure, intimidate, and place under surveillance with intent to kill, injure,

   and intimidate another person, that is, Victim 1, use any interactive computer service and electronic

   communication ser,vice and electronic commlinication system and any other facility of interstate

   and foreign commerce to engage in a course 6(conduct {hat placed that person in reasonable fear

   of death and serious bodily mJury, in, violation of Title 18, United States Code, Sections

   2261A(2)(A) and 2.

           Pursuant to Title 18, United States Code, Section 2261(b)(3), it is further alleged that the

   defendants used a dangerous weapon during the offense.




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                                              COUNT4
                                       Racketeering Promotion
                                        18 U.S.C. § 1952(a)(3)

          From in or around June 2022, through on or about July 2, 2022, in Miami-Dade County, in

   the Southern District of Florida and elsewhere, the defendants,

                                      BAYRON BENNETT,
                                   MICHAEL JOSE DULFO, and
                                   JERREN KEITH HOWARD,

    did knowingly use facilities in interstate and foreign commerce to promote, manage, establish,

    carry on, and facilitate the promotion, management, establishment, and carrying on of unlawful

    activity, and thereafter performed and attempted to perform acts to promote, manage, establish,

    carry on, and facilitate the promotion, management, establishment, and carrying on of unlawful

    activity, in violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

          Pursuant to Title 18, United States Code, Section l 952(b), it is further alleged that the

   unlawful activity is, Arson, in violation of Title 18, United States Code, Section 844(h) and (i),

   and Florida Statute 806.0l(a) and (b).

                                               COUNTS
                                                 Arson
                                            18 u.s.c. § 844(i)

          On or about July 2, 2022, in Miami-Dade County, in the Southern District ocf Florida and

   elsewhere, the defendants,

                                      BAYRON BENNETT,
                                  JERREN KEITH HOWARD, and
                                    MICHAEL JOSE DULFO,

   did maliciously damage and destroy, and attempt to damage and destroy, and cause to be damaged

   and destroyed by means of fire, a vehicle used in interstate and foreign commerce and in any

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   activity affecting interstate and foreign commerce, in violation of Title 18, United States Code,

   Sections 844(i) and 2.

                                               COUNT6
                                    Use of Fire to Commit a Felony
                                           18 U.S.C. § 844(h)

          On or about July 2, 2022, in Miami-Dade County, in the Southern District of Florida and

   elsewhere, the defendants,

                                      BAYRON BENNETT,
                                  JERREN KEITH HOWARD, and
                                    MICHAEL JOSE DULFO,

   did knowingly use fire, namely the ignition of a flammable liquid previously poured on a motor

   vehicle, to commit a felony which may be prosecuted in a court of the United States.

          It is further alleged that the felony promoted by the use of fire was Racketeering Promotion,

   in violation of Title 18, United States Code, Section 1952(a)(3), and Stalking, in violation of Title

   18, United States Code, Section 2261A(2).

          In violation of Title 18, United States Code, Sections 844(h) and 2.

                                              COUNT7
                                       Racketeering Promotion
                                        18 U.S.C. § 1952(a)(3)

          From on or about July 3, 2022, through on or about August 12, 2023, in Miami-Dade

   County, in the Southern District of Florida and elsewhere, the defendants,

                                      BAYRON BENNETT,
                                   JERREN KEITH HOWARD,
                                   MICHAEL JOSE DULFO, and
                                       EDNER ETIENNE,

    did knowingly use facilities in interstate and foreign commerce to promote, manage, establish,

    carry on, and facilitate the promotion, management, establishment, and carrying on of unlawful
                                                    7
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    activity, and thereafter performed and attempted to perform acts to promote, manage, establish,

    carry on, and facilitate the promotion, management, establishment, and carrying on of unlawful

    activity, in violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

          Pursuant to Title 18, United States Code, Section 1952(b), it is further alleged that the

   unlawful activity is, Arson, in violation of Title 18, United States Code, Section 844(h) and (i),

   and Florida Statute 806.0l(a) and (b).

                                               COUNTS
                                                 Arson
                                            18 u.s.c. § 844(i)

          On or about August 12, 2023, in Miami-Dade County, in the Southern District of Florida

   and elsewhere, the defendants,

                                        BAYRONBENNETT,
                                      MICHAEL JOSE DULFO,
                                    JERREN KEITH HOWARD, and
                                         EDNER ETIENNE,

   did maliciously damage and destroy, and attempt to damage and destroy, and cause to be damaged

   and destroyed by means of fire, a vehicle used in interstate and foreign c:ommerce and in any

   activity affecting interstate and foreign commerce, in violation of Title 18, United States Code,

   Sections 844(i) and 2.

                                               COUNT9
                                    Use of Fire to Commit a Felony
                                           18 U.S.C. § 844(h)

          On or about August 12, 2023, in Miami-Dade County, in the Southern District of Florida

   and elsewhere, the defendants,

                                        BAYRON BENNETT,
                                      MICHAEL JOSE DULFO,
                                    JERREN KEITH HOWARD, and
                                                    8
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                                          EDNER ETIENNE,

   did knowingly use fire, namely the ignition of a flammable liquid previously poured on a motor

   vehicle, to commit a felony which may be prosecuted in a court of the United States.

          It is further alleged that the felony promoted by the use of fire was Racketeering Promotion,

   in violation of Title 18, United States Code, Section 1952(a)(3), and Stalking, in violation of Title

   18, United States Code, Section2261A(2).

          In violation of Title 18, United States Code, Sections 844(h) and 2.

                                              COUNT 10
                                        Racketeering Promotion
                                         18 U.S.C. § 1952(a)(3)

          From on or about August 13, 2023, through on or about September 7, 2023, in Miami-Dade

   County, in the Southern District of Florida and elsewhere, the defendants,

                                       BAYRON BENNETT,
                                    JERREN KEITH HOWARD,
                                    MICHAEL JOSE DULFO, and
                                        EDNER ETIENNE,

    did knowingly use facilities in interstate and foreign commerce to promote, manage, establish,

    carry on, and facilitate the promotion, management; establishment, and carrying on of unlawful

    activity, and thereafter performed and attempted to perform acts to promote, manage, establish,

    carry on, and facilitate the promotion, management, establishment, and carrying on of unlawful

    activity, in violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

          Pursuant to Title 18, United States Code, Section l 952(b), it is further alleged that the

   unlawful activity is Arson, in violation of Title 18, United States Code, Section 844(h) and (i), and

   Florida Statute 806.0l(a) and (b).



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                                              COUNT 11
                                                Arson
                                           18 u.s.c. § 844(i)

          On or about September 7, 2023, in Miami-Dade County, in the Southern District of Florida

   and elsewhere, the defendants,

                                        BAYRON BENNETT,
                                      MICHAEL JOSE DULFO,
                                    JERREN KEITH HOWARD, and
                                         EDNER ETIENNE,

   did maliciously damage and destroy, and attempt to damage and destroy, and cause to be damaged

   and destroyed by means of fire, a vehicle used in interstate and foreign commerce and in any

   activity affecting interstate and foreign commerce, in violation of Title 18, United States Code,

   Sections 844(i) and 2.

                                              COUNT 12
                                    Use of Fire to Commit a Felony
                                           18 U.S.C. § 844(h)

          On or about September 7, 2023, in Miami-Dade County, in the Southern District of Florida

   and elsewhere, the defendants,

                                      BAYRON BENNETT,
                                    MICHAEL JOSE DULFO,
                                  JERREN KEITH HOWARD, and
                                       EDNER ETIENNE,

   did knowingly use fire, namely the ignition of a flammable liquid previously poured on a motor

   vehicle, to commit a felony which may be prosecuted in a court of the United States.

          It is further alleged that the felony promoted by the use of fire was Racketeering Promotion,

   in violation of Title 18, United States Code, Section 1952(a)(3), and Stalking, in violation of Title

   18, United States Code, Section 2261A(2).

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          In violation of Title 18, United States Code, Sections 844(h) and 2.

                                               COUNT 13
                                             Murder for Hire
                                             18 u.s.c. § 1958

          From in or around October 2023, the exact date being unknown to the Grand Jury,

   continuing through on or about July 16, 2024, in Miami-Dade County, in the Southern District of

   Florida, and elsewhere, the defendants,

                                       FAUSTO VILLAR,
                                        AVERY BIVINS,
                                       DIORI BARNARD,
                                    CLEMENTA JOHNSON, and
                                       VERNON GREEN,

   did use, and cause another to use, any facility of interstate and foreign commerce, with intent that

   the murder of Victim 1 be committed in violation of the laws of the State of Florida as

   consideration for the receipt of, and as consideration for a promise and agreement to pay, anything

   of pecuniary value, in violation of Title 18, United States Code, Sections 1958(a) and 2.

                                                COUNT14
                                                  Stalking
                                             18 U.S.C. § 2261A

          Beginning from on or about June 5, 2024, the exact date being unknown to the Grand Jury,

   and continuing through on or about June 27, 2024, in Miami-Dade and Monroe Counties, in the

   Southern District of Florida and elsewhere, the defendants,

                                       FAUSTO VILLAR,
                                        AVERY BIVINS,
                                       DIORI BARNARD,
                                    CLEMENTA JOHNSON, and
                                       VERNON GREEN,




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   did, with the intent to kill, injure, intimidate, and place under surveillance with intent to kill, injure,

   and intimidate another person, that is, Victim 1, use any interactive computer service and electronic

   communication service and electronic communication system and any other facility of interstate

   and foreign commerce to engage in a course of conduct that placed that person in reasonable fear

   of death and serious bodily injury, in violation of Title 18, United States Code, Sections

   2261A(2)(A) and 2.

           Pursuant to Title 18, United States Code, Section 2261(b)(3), it is further alleged that the

   defendants used a dangerous weapon during the offense.

                                             COUNT 15
                   Possession of a Firearm and Ammunition by a Convicted Felon
                                         18 U.S.C. § 922(g)(l)

           On or about June 23, 2024, in Miami-Dade County, in the Southern District of Florida, the

   defendants,

                                         DIORI BARNARD,
                                      CLEMENTA JOHNSON, and
                                         VERNON GREEN,

   did knowingly possess a firearm and ammunition in and affecting interstate and foreign commerce,

   knowing that they had each previously been convicted of a crime punishable by imprisonment for

   a term exceeding one year, in violation of Title 18, United States Code, Sections 922(g)(l) and 2.

           It is further alleged that the firearm and ammunition were:

       1. One (1) Kahr 9mm handgun bearing serial number VA1573; and
       2. Six (6) live 9mm rounds of ammunition.




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                                           COUNT 16              r
                                                                 I
                  Brandishing of a Firearm in Furtherance of a Crime of Violence
                                    18 U.S.C. § 924(c)(l)(A)(ii) I
                                                                               '


          On or about June 23, 2024, in Miami-Dade County, in the!Southem District of Florida and

   elsewhere, the defendants,

                                        FAUSTO VILLAR,
                                         AVERY BIVINS,
                                        DIORI BARNARD,
                                     CLEMENTA JOHNSON, and
                                        VERNON GREEN,

   did knowingly use and carry a firearm during and in relation ~o a crime of violence, and did

   knowingly possess a firearm in furtherance of a crime of viol¢nce, an offense for which the
                                                                           I




   defendants may be prosecuted in a court of the United States, that ;is, a violation of Title 18, United

   States Code, Sections 1952(a)(2) and 2261A, in violation of Title 18, United States Code, Sections

   924(c)(l)(A) and 2.

          Pursuant to Title 18, United States Code, Section 924(c)q)(A)(ii), it is further alleged that

   the firearm was brandished.

                                               COUNT 17
                                          Obstruction of Justice
                                           18 U.S.C. § 1503(a)

          On or about July 15, 2024, in Miami-Dade County, in the ,Southern District of Florida, and

   elsewhere, the defendant,

                                          FAUSTO VILLAR,

   did corruptly influence, obstruct, and impede, and endeavor to influence, obstruct, and impede, the
                                                                     !
                                                                     i
   due and proper administration of justice, specifically by directing others to provide false
                                                                       I
   information to agents of the Federal Bureau of Investigation for the purpose of obstructing an
                                                                       I

                                                                       i
                                                                       I




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                                                                     i

   investigation of crimes committed against Victim 1, in violation rf Title 18, United States Code,

   Sections 1503(a) and 2.

                                   FORFEITURE ALLEGATIONS

          1.      The allegations of this Superseding Indictment are hereby re-alleged and by this

   reference fully incorporated herein for the purpose of alleging forfeiture to the United States of

   America of certain property in which the defendants, BAYRON BENNETT, FAUSTO

   VILLAR, AVERY BIVINS, VERNON GREEN, DI ORI BARNARD, MICHAEL JOSE

   DULFO, JERREN KEITH HOWARD, and ~DNER ETIENNE, have an interest.

          2.      Upon conviction of a violation of Title 18, United States Code, Sections 844, 1503,

   1952, and/or 1958, as alleged in this Superseding Indictment, the defendant so convicted shall

   forfeit to the United States of America, pursuant to Title 18, United States Code, Section

   981(a)(l)(C), any property, real or personal, which constitutes or is derived from proceeds

   traceable to such violation..

          3.      Upon conviction of a violation of Title 18, United States Code, Section 922 and/or

   Section 924, or any violation of any other criminal law of the United States, as alleged in this

   Superseding Indictment, the defendant so convicted shall forfeit to the United States of America,

   pursuant to Title 18, United States Code, Section 924(d)(l), ~my firearm and/or ammunition

   involved in or used in such violation.

          All pursuant to Title 18, United States Code, Sections 981(a)(l(C), 924(d)(l), and the

   procedures set forth in Title 21, United States Code, Section 853~ as made applicable by Title 28,

   United States Code, Section 2461(c).




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          All pursuant to Title 18, United States Code, Sections 981(a)(l(C), 982(a)(l), 924(d)(l),

   and the procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title

   28, United States Code, Section 2461 (c).




                                                FOREPERSON



  ~6r:
   MARKENZY LAPOINTE




   ASSISTANT UNITED STATES ATTORNEY




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                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                       CASE NO.:
                                                                                           ---------------
v.
                                                                               CERTIFICATE OF TRIAL ATTORNEY
BAYRON BENNETT, et al.,
- - - - - - - - - - - - - - - - - - - CI
                Defendants.                                                    Superseding Case Information:
Court Division (select one)                                                    New Defendant(s) (Yes or No) Yes
   IE! Miami      □ Key West                       □ FTP
                                                                               Number of New Defendants 5
          □ FTL             □ WPB
                                                                               Total number of new counts _1_1_

I do hereby certify that:
   1.   I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.     Interpreter: (Yes or No) Yes
            List language and/or dialect: .;;;;_Sp.i;;..a=n=is=h.;;____ _ __
     4.     This case will take~ days for the parties to try.

     5.     Please check appropriate category and type of offense listed below:
            (Check only one)                                  (Check only one)
            I     □ 0 to 5 days                           □ Petty
            II    □ 6 to 10 days                          □ Minor
            III   lrEI 11 to 20 days                      □ Misdemeanor
            IV    □ 21 to 60 days                          ~Felony
            V     □ 61 days and over

     6.
     Has this case been previously filed in this District Court? (Yes or No) No
     If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 7.  Has a complaint been filed in this matter? (Yes or No) Yes
     If yes, Magistrate Case No. 24-mj-02454, 02460, 03455
 8.  Does this case relate to a previously filed matter in this District Court? (Yes or No) No
     If yes, Judge___________ Case No.---,----,,------,-----------
 9.  Defendant(s) in federal custody as of March 7, 2024 and July 1, 13, and 16, 2024
 10. Defendant(s) in state custody as of
 11. Rule 20 from the _ _ _ _ District of _ _ _ _ _ _ _ __
 12. Is this a potential death penalty case? (Yes or No) No
 13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
     prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
 14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
     to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
 15. Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
     during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
 16. Did this matter involve the participation of or consultation with now Magistrate Judge Marta
     Elfenbein during her tenure at the U.S. Attorney's Office, wh· h co lude on M           5, 2024?


                                                                         By:

                                                                                  Assistant United States Attorney
                                                                                  FL Bar No.         109315
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      FUASTO VILLAR

   Case No:     24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 1

   Murder for Hire Conspiracy

    Title 18, United States Code, Section 1958
    * Max. Term of Imprisonment: Life
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: 5 years
    * Max. Fine: $250,000

   Count#: 13

   Murder for Hire

   Title 18, United States Code, Section 1958
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 14

   Stalkin

    Title 18, United States Code, Section 2261A
    *Max.Term of Imprisonment: 10 years
    * Mandatory Min. Term of Imprisonment (if applicable): 5 years
    * Max. Supervised Release: 3 years
    * Max. Fine: $250,000

   Count#: 16

   Brandishing a Firearm in Furtherance of a Crime of Violence

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 7 years


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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    * Max. Supervised Release: 5 years
    * Max. Fine: $250,000

   Count#: 17

   Obstruction of Justice

   Title 18, United States Code, Section 1503
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      BAYRON BENNETT

    Case No:   24-20110-CR-GAYLESIGOODMAN(s)

   Count#: 1

   Murder for Hire Conspiracy
   Title 18, United States Code, Section 1958

    *Max.Term of Imprisonment: Life
    * Mandatory Min. Term of Imprisonment (if applicable): NIA
    * Max. Supervised Release: 5 years
    * Max. Fine: $250,000

   Count#: 2

   Murder for Hire
   Title 18, United States Code, Section 1958

   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 3

   Stalkin

   Title 18, United States Code, Section 2261A
   *Max.Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000
   Counts#: 4, 7, 10

   Racketeering Promotion

   Title 18, United States Code, Section 1952
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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    * Max. Supervised Release: 3 years
    * Max. Fine: $250,000

    Counts #: 5, 8, 11

    Arson

   Title 18, United States Code, Section 844(i)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000
    Counts#: 6, 9, 12

    Use of Fire in furtherance of a felony

   Title 18, United States Code, Section 844(h)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 10 years for 1st offense, 20 years
   for subsequent offenses
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name: _;Ac..=. . :.VE..=c::R=Y=---=B=I"--'V---"IN=S::;___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Case No:     24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 1

   Murder for Hire Conspiracy

   Title 18, United States Code, Section 1958
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 13

   Murder for Hire

   Title 18, United States Code, Section 1958
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 14

   Stalkin

   Title 18, United States Code, Section 2261A
   *Max.Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 16

   Brandishing a Firearm in Furtherance of a Crime of Violence

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 7 years


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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    * Max. Supervised Release: 5 years
    * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      CLEMENTA JOHNSON

   Case No:     24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 1

   Murder for Hire Conspiracy

   Title 18, United States Code, Section 1958
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 13

   Murder for Hire

   Title 18 United States Code Section 1958
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 14

   Stalkin

   Title 18, United States Code, Section 2261A
   *Max.Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 15

   Possession of a Firearm and Ammunition by a Convicted Felon

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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    * Max. Supervised Release: 3 years
    * Max. Fine: $250,000

    Count#: 16

   Brandishing a Firearm in Furtherance of a Crime of Violence

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 7 years
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      VERNON GREEN

   Case No:     24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 1

   Murder for Hire Conspiracy

    Title 18, United States Code, Section 1958
    * Max. Term of Imprisonment: Life
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: 5 years
    * Max. Fine: $250,000

   Count#: 13

   Murder for Hire

   Title 18, United States Code, Section 1958
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 14

   Stalkin

   Title 18, United States Code, S_ection 2261A
   *Max.Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 15

   Possession of a Fireann and Ammunition by a Convicted Felon

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 16

   Brandishing a Firearm in Furtherance of a Crime of Violence

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   *Max.Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 7 years
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      DIORI BARNARD

   Case No:     24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 1

   Murder for Hire Conspiracy

   Title 18, United States Code, Section 1958
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 13

   Murder for Hire

   Title 18, United States Code, Section 1958
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000

   Count#: 14

   Stalkin

   Title 18, United States Code, Section 2261A
   * Max. Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 15

   Possession of a Firearm and Ammunition by a Convicted Felon

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 16

   Brandishing a Firearm in Furtherance of a Crime of Violence

   Title 18, United States Code, Section 924(c)(l)(A)(ii)
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 7 years
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name:      JERREN KEITH HOWARD

   Case No:    24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 3

    Stalkin

   Title 18, United States Code, Section 2261A
   * Max. Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts#: 4, 7, 10

   Racketeering Promotion •

   Title 18, United States Code, Section 1952
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts #: 5, 8, 11

   Arson

   Title 18, United States Code, Section 844(i)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts#: 6, 9, 12

   Use of Fire in furtherance of a felony

   Title 18, United States Code, Section 844(h)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 10 years for 1st offense, 20 years


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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   for subsequent offenses
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name:      MICHAEL JOSE DULFO

   Case No:    24-20110-CR-GAYLES/GOODMAN(s)

   Count#: 3

   Stalkin

   Title 18, United States Code, Section 2261A
   * Max. Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts#: 4, 7, 10

   Racketeering Promotion

   Title 18, United States Code, Section 1952
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts #: 5, 8, 11

   Arson

   Title 18, United States Code, Section 844(i)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts#: 6, 9, 12

   Use of Fire in furtherance of a felony

   Title 18, United States Code, Section 844(h)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 10 years for 1st offense, 20 years


     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
